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             WhatsApp Legal Info




      WhatsApp Terms Of Service

      You are currently viewing an archived version of the Terms of Service. View the current version or
      all past versions.
      Last modified: August 25, 2016 }




      WhatsApp Inc. (“WhatsApp,” “our,” “we,” or “us”) provides messaging, Internet calling, and other
      services to users around the world. Please read our Terms of Service so you understand what’s up with
      your use of WhatsApp. You agree to our Terms of Service (“Terms”) by installing, accessing, or using our
      apps, services, features, software, or website (together, “Services”).

      NO ACCESS TO EMERGENCY SERVICES: There are important differences between WhatsApp and
      your mobile and fixed-line telephone and SMS services. Our Services do not provide access to
      emergency services or emergency services providers, including the police, fire departments, or
      hospitals, or otherwise connect to public safety answering points. You should ensure you can
      contact your relevant emergency services providers through a mobile, fixed-line telephone, or other
      service.

      IF YOU ARE A WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, OUR TERMS
      CONTAIN A BINDING ARBITRATION PROVISION, WHICH STATES THAT, EXCEPT IF YOU OPT OUT
      AND EXCEPT FOR CERTAIN TYPES OF DISPUTES, WHATSAPP AND YOU AGREE TO RESOLVE ALL
      DISPUTES THROUGH BINDING INDIVIDUAL ARBITRATION, WHICH MEANS THAT YOU WAIVE ANY
      RIGHT TO HAVE THOSE DISPUTES DECIDED BY A JUDGE OR JURY, AND THAT YOU WAIVE YOUR
      RIGHT TO PARTICIPATE IN CLASS ACTIONS, CLASS ARBITRATIONS, OR REPRESENTATIVE ACTIONS.
      PLEASE READ THE “SPECIAL ARBITRATION PROVISION FOR UNITED STATES OR CANADA USERS”
      SECTION BELOW TO LEARN MORE.



      About our services
      Registration. You must register for our Services using accurate data, provide your current mobile
      phone number, and, if you change it, update this mobile phone number using our in-app change

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      number feature. You agree to receive text messages and phone calls (from us or our third-party
      providers) with codes to register for our Services.

      Address Book. You provide us the phone numbers of WhatsApp users and your other contacts in your
      mobile phone address book on a regular basis. You confirm you are authorized to provide us such
      numbers to allow us to provide our Services.

      Age. You must be at least 13 years old to use our Services (or such greater age required in your country
      for you to be authorized to use our Services without parental approval). In addition to being of the
      minimum required age to use our Services under applicable law, if you are not old enough to have
      authority to agree to our Terms in your country, your parent or guardian must agree to our Terms on
      your behalf.

      Devices and Software. You must provide certain devices, software, and data connections to use our
      Services, which we otherwise do not supply. For as long as you use our Services, you consent to
      downloading and installing updates to our Services, including automatically.

      Fees and Taxes. You are responsible for all carrier data plan and other fees and taxes associated with
      your use of our Services. We may charge you for our Services, including applicable taxes. We may
      refuse or cancel orders. We do not provide refunds for our Services, except as required by law.



      Privacy policy and user data
      WhatsApp cares about your privacy. WhatsApp’s Privacy Policy describes our information (including
      message) practices, including the types of information we receive and collect from you and how we use
      and share this information. You agree to our data practices, including the collection, use, processing,
      and sharing of your information as described in our Privacy Policy, as well as the transfer and
      processing of your information to the United States and other countries globally where we have or use
      facilities, service providers, or partners, regardless of where you use our Services. You acknowledge that
      the laws, regulations, and standards of the country in which your information is stored or processed
      may be different from those of your own country.



      Acceptable use of our services
      Our Terms and Policies. You must use our Services according to our Terms and posted policies. If we
      disable your account for a violation of our Terms, you will not create another account without our
      permission.

      Legal and Acceptable Use. You must access and use our Services only for legal, authorized, and
      acceptable purposes. You will not use (or assist others in using) our Services in ways that: (a) violate,
      misappropriate, or infringe the rights of WhatsApp, our users, or others, including privacy, publicity,
      intellectual property, or other proprietary rights; (b) are illegal, obscene, defamatory, threatening,
      intimidating, harassing, hateful, racially, or ethnically offensive, or instigate or encourage conduct that
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      would be illegal, or otherwise inappropriate, including promoting violent crimes; (c) involve publishing
      falsehoods, misrepresentations, or misleading statements; (d) impersonate someone; (e) involve
      sending illegal or impermissible communications such as bulk messaging, auto-messaging, auto-
      dialing, and the like; or (f) involve any non-personal use of our Services unless otherwise authorized by
      us.

      Harm to WhatsApp or Our Users. You must not (or assist others to) access, use, copy, adapt, modify,
      prepare derivative works based upon, distribute, license, sublicense, transfer, display, perform, or
      otherwise exploit our Services in impermissible or unauthorized manners, or in ways that burden,
      impair, or harm us, our Services, systems, our users, or others, including that you must not directly or
      through automated means: (a) reverse engineer, alter, modify, create derivative works from, decompile,
      or extract code from our Services; (b) send, store, or transmit viruses or other harmful computer code
      through or onto our Services; (c) gain or attempt to gain unauthorized access to our Services or
      systems; (d) interfere with or disrupt the integrity or performance of our Services; (e) create accounts
      for our Services through unauthorized or automated means; (f) collect the information of or about our
      users in any impermissible or unauthorized manner; (g) sell, resell, rent, or charge for our Services; or
      (h) distribute or make our Services available over a network where they could be used by multiple
      devices at the same time.

      Keeping Your Account Secure. You are responsible for keeping your device and your WhatsApp
      account safe and secure, and you must notify us promptly of any unauthorized use or security breach
      of your account or our Services.



      Third-party services
      Our Services may allow you to access, use, or interact with third-party websites, apps, content, and
      other products and services. For example, you may choose to use third-party data backup services
      (such as iCloud or Google Drive) that are integrated with our Services or interact with a share button on
      a third party’s website that enables you to send information to your WhatsApp contacts. Please note
      that when you use third-party services, their own terms and privacy policies will govern your use of
      those services.



      Licenses
      Your Rights. WhatsApp does not claim ownership of the information that you submit for your
      WhatsApp account or through our Services. You must have the necessary rights to such information
      that you submit for your WhatsApp account or through our Services and the right to grant the rights
      and licenses in our Terms.

      WhatsApp’s Rights. We own all copyrights, trademarks, domains, logos, trade dress, trade secrets,
      patents, and other intellectual property rights associated with our Services. You may not use our
      copyrights, trademarks, domains, logos, trade dress, patents, and other intellectual property rights
      unless you have our express permission and except in accordance with our Brand Guidelines. You may
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      use the trademarks www.facebookbrand.com/trademarks of our affiliated companies only with their
      permission, including as authorized in any published brand guidelines.

      Your License to WhatsApp. In order to operate and provide our Services, you grant WhatsApp a
      worldwide, non-exclusive, royalty-free, sublicensable, and transferable license to use, reproduce,
      distribute, create derivative works of, display, and perform the information (including the content) that
      you upload, submit, store, send, or receive on or through our Services. The rights you grant in this
      license are for the limited purpose of operating and providing our Services (such as to allow us to
      display your profile picture and status message, transmit your messages, store your undelivered
      messages on our servers for up to 30 days as we try to deliver them, and otherwise as described in our
      Privacy Policy).

      WhatsApp’s License to You. We grant you a limited, revocable, non-exclusive, non-sublicensable, and
      non-transferable license to use our Services, subject to and in accordance with our Terms. This license is
      for the sole purpose of enabling you to use our Services, in the manner permitted by our Terms. No
      licenses or rights are granted to you by implication or otherwise, except for the licenses and rights
      expressly granted to you.



      Reporting third-party copyright, trademark, and other intellectual
      property infringement
      To report claims of third-party copyright, trademark, or other intellectual property infringement, please
      visit our Intellectual Property Policy. We may terminate your WhatsApp account if you repeatedly
      infringe the intellectual property rights of others.



      Disclaimers
      YOU USE OUR SERVICES AT YOUR OWN RISK AND SUBJECT TO THE FOLLOWING DISCLAIMERS. WE
      ARE PROVIDING OUR SERVICES ON AN “AS IS” BASIS WITHOUT ANY EXPRESS OR IMPLIED
      WARRANTIES, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
      PARTICULAR PURPOSE, TITLE, NON-INFRINGEMENT, AND FREEDOM FROM COMPUTER VIRUS OR
      OTHER HARMFUL CODE. WE DO NOT WARRANT THAT ANY INFORMATION PROVIDED BY US IS
      ACCURATE, COMPLETE, OR USEFUL, THAT OUR SERVICES WILL BE OPERATIONAL, ERROR FREE,
      SECURE, OR SAFE, OR THAT OUR SERVICES WILL FUNCTION WITHOUT DISRUPTIONS, DELAYS, OR
      IMPERFECTIONS. WE DO NOT CONTROL, AND ARE NOT RESPONSIBLE FOR, CONTROLLING HOW OR
      WHEN OUR USERS USE OUR SERVICES OR THE FEATURES, SERVICES, AND INTERFACES OUR SERVICES
      PROVIDE. WE ARE NOT RESPONSIBLE FOR AND ARE NOT OBLIGATED TO CONTROL THE ACTIONS OR
      INFORMATION (INCLUDING CONTENT) OF OUR USERS OR OTHER THIRD PARTIES. YOU RELEASE US,
      OUR SUBSIDIARIES, AFFILIATES, AND OUR AND THEIR DIRECTORS, OFFICERS, EMPLOYEES, PARTNERS,
      AND AGENTS (TOGETHER, THE “WHATSAPP PARTIES”) FROM ANY CLAIM, COMPLAINT, CAUSE OF
      ACTION, CONTROVERSY, OR DISPUTE (TOGETHER, “CLAIM”) AND DAMAGES, KNOWN AND
      UNKNOWN, RELATING TO, ARISING OUT OF, OR IN ANY WAY CONNECTED WITH ANY SUCH CLAIM

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      YOU HAVE AGAINST ANY THIRD PARTIES. YOU WAIVE ANY RIGHTS YOU MAY HAVE UNDER
      CALIFORNIA CIVIL CODE §1542, OR ANY OTHER SIMILAR APPLICABLE STATUTE OR LAW OF ANY
      OTHER JURISDICTION, WHICH SAYS THAT: A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
      WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME
      OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED
      HIS OR HER SETTLEMENT WITH THE DEBTOR.



      Limitation of liability
      THE WHATSAPP PARTIES WILL NOT BE LIABLE TO YOU FOR ANY LOST PROFITS OR CONSEQUENTIAL,
      SPECIAL, PUNITIVE, INDIRECT, OR INCIDENTAL DAMAGES RELATING TO, ARISING OUT OF, OR IN ANY
      WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES, EVEN IF THE WHATSAPP PARTIES
      HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. OUR AGGREGATE LIABILITY RELATING
      TO, ARISING OUT OF, OR IN ANY WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES
      WILL NOT EXCEED THE GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE
      PAID US IN THE PAST TWELVE MONTHS. THE FOREGOING DISCLAIMER OF CERTAIN DAMAGES AND
      LIMITATION OF LIABILITY WILL APPLY TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW.
      THE LAWS OF SOME STATES OR JURISDICTIONS MAY NOT ALLOW THE EXCLUSION OR LIMITATION OF
      CERTAIN DAMAGES, SO SOME OR ALL OF THE EXCLUSIONS AND LIMITATIONS SET FORTH ABOVE MAY
      NOT APPLY TO YOU. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN OUR TERMS, IN SUCH
      CASES, THE LIABILITY OF THE WHATSAPP PARTIES WILL BE LIMITED TO THE FULLEST EXTENT
      PERMITTED BY APPLICABLE LAW.



      Indemnification
      You agree to defend, indemnify, and hold harmless the WhatsApp Parties from and against all liabilities,
      damages, losses, and expenses of any kind (including reasonable legal fees and costs) relating to,
      arising out of, or in any way in connection with any of the following: (a) your access to or use of our
      Services, including information provided in connection therewith; (b) your breach or alleged breach of
      our Terms; or (c) any misrepresentation made by you. You will cooperate as fully as required by us in
      the defense or settlement of any Claim.



      Dispute resolution
      Forum and Venue. If you are a WhatsApp user located in the United States or Canada, the “Special
      Arbitration Provision for United States or Canada Users” section below applies to you. Please also read
      that section carefully and completely. If you are not subject to the “Special Arbitration Provision for
      United States or Canada Users” section below, you agree that you and WhatsApp will resolve any Claim
      relating to, arising out of, or in any way in connection with our Terms, us, or our Services (each, a
      “Dispute,” and together, “Disputes”) exclusively in the United States District Court for the Northern
      District of California or a state court located in San Mateo County in California, and you agree to
      submit to the personal jurisdiction of such courts for the purpose of litigating all such Disputes.
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      Without prejudice to the foregoing, you agree that, in our sole discretion, we may elect to resolve any
      Dispute we have with you in any competent court in the country in which you reside that has
      jurisdiction over the Dispute.

      Governing Law. The laws of the State of California govern our Terms, as well as any Disputes, whether
      in court or arbitration, which might arise between WhatsApp and you, without regard to conflict of law
      provisions.



      Availability and termination of our services
      Availability of Our Services. Our Services may be interrupted, including for maintenance, repairs,
      upgrades, or network or equipment failures. We may discontinue some or all of our Services, including
      certain features and the support for certain devices and platforms, at any time. Events beyond our
      control may affect our Services, such as events in nature and other force majeure events.

      Termination. We may modify, suspend, or terminate your access to or use of our Services anytime for
      any reason, such as if you violate the letter or spirit of our Terms or create harm, risk, or possible legal
      exposure for us, our users, or others. The following provisions will survive any termination of your
      relationship with WhatsApp: “Licenses,” “Disclaimers,” “Limitation of Liability,” “Indemnification,”
      “Dispute Resolution,” “Availability and Termination of our Services,” “Other,” and “Special Arbitration
      Provision for United States or Canada Users.”



      Other
            Unless a mutually executed agreement between you and us states otherwise, our Terms make up
            the entire agreement between you and us regarding WhatsApp and our Services, and supersede
            any prior agreements.

            We may ask you to agree to additional terms for certain of our Services in the future, which will
            govern to the extent there is a conflict between our Terms and such additional terms.

            Our Services are not intended for distribution to or use in any country where such distribution or
            use would violate local law or would subject us to any regulations in another country. We reserve
            the right to limit our Services in any country.

            You will comply with all applicable U.S. and non-U.S. export control and trade sanctions laws
            (“Export Laws”). You will not, directly or indirectly, export, re-export, provide, or otherwise transfer
            our Services: (a) to any individual, entity, or country prohibited by Export Laws; (b) to anyone on
            U.S. or non-U.S. government restricted parties lists; or (c) for any purpose prohibited by Export
            Laws, including nuclear, chemical, or biological weapons, or missile technology applications
            without the required government authorizations. You will not use or download our Services if you
            are located in a restricted country, if you are currently listed on any U.S. or non-U.S. restricted
            parties list, or for any purpose prohibited by Export Laws, and you will not disguise your location
            through IP proxying or other methods.

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            Our Terms are written in English (U.S.). Any translated version is provided solely for your
            convenience. To the extent any translated version of our Terms conflicts with the English version,
            the English version controls.

            Any amendment to or waiver of our Terms requires our express consent.

            We may amend or update these Terms. We will provide you notice of amendments to our Terms,
            as appropriate, and update the “Last Modified” date at the top of our Terms. Your continued use of
            our Services confirms your acceptance of our Terms, as amended. If you do not agree to our
            Terms, as amended, you must stop using our Services. Please review our Terms from time to time.

            All of our rights and obligations under our Terms are freely assignable by us to any of our affiliates
            or in connection with a merger, acquisition, restructuring, or sale of assets, or by operation of law
            or otherwise, and we may transfer your information to any of our affiliates, successor entities, or
            new owner.

            You will not transfer any of your rights or obligations under our Terms to anyone else without our
            prior written consent.

            Nothing in our Terms will prevent us from complying with the law.

            Except as contemplated herein, our Terms do not give any third-party beneficiary rights.

            If we fail to enforce any of our Terms, it will not be considered a waiver.

            If any provision of these Terms is deemed unlawful, void, or for any reason unenforceable, then
            that provision shall be deemed severable from our Terms and shall not affect the validity and
            enforceability of the remaining provisions, except as set forth in the “Special Arbitration Provision
            for United States or Canada Users” — “Severability” section below.

            We reserve all rights not expressly granted by us to you. In certain jurisdictions, you may have
            legal rights as a consumer, and our Terms are not intended to limit such consumer legal rights that
            may not be waived by contract.

            We always appreciate your feedback or other suggestions about WhatsApp and our Services, but
            you understand that we may use your feedback or suggestions without any obligation to
            compensate you for them (just as you have no obligation to offer them).



      Special arbitration provision for United States or Canada users
      PLEASE READ THIS SECTION CAREFULLY BECAUSE IT CONTAINS ADDITIONAL PROVISIONS
      APPLICABLE ONLY TO OUR UNITED STATES AND CANADA USERS. IF YOU ARE A WHATSAPP USER
      LOCATED IN THE UNITED STATES OR CANADA, IT REQUIRES YOU TO SUBMIT TO BINDING
      INDIVIDUAL ARBITRATION OF ALL DISPUTES, EXCEPT FOR THOSE THAT INVOLVE INTELLECTUAL
      PROPERTY DISPUTES AND EXCEPT THOSE THAT CAN BE BROUGHT IN SMALL CLAIMS COURT. THIS
      MEANS YOU ARE WAIVING YOUR RIGHT TO HAVE SUCH DISPUTES RESOLVED IN COURT BY A
      JUDGE OR JURY. THIS SECTION ALSO LIMITS THE TIME YOU HAVE TO START AN ARBITRATION OR,
      IF PERMISSIBLE, A COURT ACTION. FINALLY, THIS SECTION WAIVES YOUR RIGHT TO HAVE YOUR


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      DISPUTE HEARD AND RESOLVED AS A CLASS ACTION, CLASS ARBITRATION, OR A REPRESENTATIVE
      ACTION.

      “Excluded Dispute” means any Dispute relating to the enforcement or infringement of your or our
      intellectual property rights (such as copyrights, trademarks, domains, logos, trade dress, trade secrets,
      and patents). For clarity and notwithstanding the foregoing, those Disputes relating to, arising out of,
      or in any way in connection with your rights of privacy and publicity are not Excluded Disputes.

      Federal Arbitration Act. The United States Federal Arbitration Act governs the interpretation and
      enforcement of this “Special Arbitration Provision for United States or Canada Users” section, including
      any question whether a Dispute between WhatsApp and you is subject to arbitration.

      Agreement to Arbitrate for WhatsApp Users Located in the United States or Canada. For WhatsApp
      users located in the United States or Canada, WhatsApp and you each agree to waive the right to a trial
      by judge or jury for all Disputes, except for the Excluded Disputes. WhatsApp and you agree that all
      Disputes (except for the Excluded Disputes), including those relating to, arising out of, or in any way in
      connection with your rights of privacy and publicity, will be resolved through final and binding
      arbitration. WhatsApp and you agree not to combine a Dispute that is subject to arbitration under our
      Terms with a Dispute that is not eligible for arbitration under our Terms.

      The arbitration will be administered by the American Arbitration Association (AAA) under its
      Commercial Arbitration Rules in effect at the time the arbitration is started, including the Optional
      Rules for Emergency Measures of Protection and the Supplementary Procedures for Consumer-Related
      Disputes (together, the “AAA Rules”). The arbitration will be presided over by a single arbitrator
      selected in accordance with the AAA Rules. The AAA Rules, information regarding initiating a Dispute,
      and a description of the arbitration process are available at www.adr.org. The arbitrator will decide
      whether a Dispute can be arbitrated. The location of the arbitration and the allocation of fees and costs
      for such arbitration shall be determined in accordance with the AAA Rules. Notwithstanding the AAA
      Rules, we will reimburse you for all the AAA administrative fees in Disputes that are subject to the
      Supplementary Procedures for Consumer-Related Disputes, unless the arbitrator determines that a
      Dispute was filed for purposes of harassment or is patently frivolous.

      Opt-Out Procedure. You may opt out of this agreement to arbitrate. If you do so, neither we nor you
      can require the other to participate in an arbitration proceeding. To opt out, you must notify us in
      writing postmarked within 30 days of the later of: (i) the date that you first accepted our Terms; and (ii)
      the date you became subject to this arbitration provision. You must use this address to opt-out:

      WhatsApp Inc.
      Arbitration Opt-Out
      1601 Willow Road
      Menlo Park, California 94025
      United States of America




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      You must include: (1) your name and residence address; (2) the mobile phone number associated with
      your account; and (3) a clear statement that you want to opt out of our Terms’ agreement to arbitrate.

      Small Claims Court. As an alternative to arbitration, if permitted by your local “small claims” court’s
      rules, you may bring your Dispute in your local “small claims” court, as long as the matter advances on
      an individual (non-class) basis.

      Time Limit to Start Arbitration. We and you agree that for any Dispute (except for the Excluded
      Disputes) we and you must commence an arbitration proceeding within one year after the Dispute first
      arose; otherwise, such Dispute is permanently barred. This means that if we or you do not commence
      an arbitration within one year after the Dispute first arose, then the arbitration will be dismissed
      because it was started too late.

      No Class Actions, Class Arbitrations, or Representative Actions for Users Located in the United States
      or Canada. We and you each agree that if you are a WhatsApp user located in the United States or
      Canada, each of we and you may bring Disputes against the other only on its or your own behalf, and
      not on behalf of any other person or entity, or any class of people. We and you each agree not to
      participate in a class action, a class-wide arbitration, Disputes brought in a private attorney general or
      representative capacity, or consolidated Disputes involving any other person or entity in connection
      with any Dispute.

      Severability. If the prohibition against class actions and other Disputes brought on behalf of third
      parties is found to be unenforceable for a Dispute, then all of the provisions above under the caption
      “Special Arbitration Provision for United States or Canada Users” will be null and void as to that
      Dispute.

      Place to File Permitted Court Actions. If you opt out of the agreement to arbitrate, if your Dispute is
      an Excluded Dispute, or if the arbitration agreement is found to be unenforceable, you agree to be
      subject to the “Forum and Venue” provisions in the “Dispute Resolution” section set forth above.


      Accessing WhatsApp's terms in different languages

      To access our Terms in certain other languages, change the language setting for your WhatsApp
      session. If our Terms are not available in the language you select, we will default to the English version.

      Please review the following documents, which provide additional information about your use of our
      Services:

      WhatsApp Privacy Policy

      WhatsApp Intellectual Property Policy

      WhatsApp Brand Guidelines



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     Business                                                          Blog

     Privacy                                                           WhatsApp Stories




     DOWNLOAD                                                          HELP


     Mac/PC                                                            FAQ

     Android                                                           Twitter

     iPhone                                                            Facebook

                                                                       Coronavirus




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